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13

14                          UNITED STATES DISTRICT COURT
15
                                 DISTRICT OF NEVADA

16

17   ROBERT COACHE, an Individual,           CASE NO.:

18                                           COMPLAINT FOR:
19                  Plaintiff,
                                             1. VIOLATION OF THE FOURTEENTH
20                                              AMENDMENT DUE PROCESS (42
21
     vs.                                        U.S.C. § 1983);
                                             2. VIOLATION OF THE FOURTH
22                                              AMENDMENT (42 U.S.C. § 1983);
23
     LAS VEGAS METROPOLITAN POLICE 3. DETENTION WITHOUT PROBABLE
                                                CAUSE AND DEPRIVATION OF
24
     DEPARTMENT, a government entity;
                                                LIBERTY;
25
     CLARK COUNTY, a political subdivision 4. FAILURE TO INTERVENE (42 U.S.C.
                                                § 1983);
     of the State of Nevada and a government
26                                           5. CONSPIRACY TO DEPRIVE
     entity; MARC DIGIACOMO, an individual CONSTITUTIONAL RIGHTS (42
27
                                                U.S.C. § 1983);
     and an employee of a government entity;
28                                           6. VIOLATION OF POLICY (42 U.S.C. §
     SARAH E. OVERLY, an individual and an 1983);
                                      COMPLAINT

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 1
     employee of a government entity; COLIN 7. MALICIOUS PROSECUTION;
 2                                          8. ABUSE OF PROCESS;
     HAYNES, an individual and an employee
                                            9. INTENTIONAL INFLICTION OF
 3   of a government entity; NATHAN CHIO,      EMOTIONAL DISTRESS;
 4                                          10. CIVIL CONSPIRACY;
     an individual and an employee of a
                                            11. INDEMNIFICATION.
 5   government entity; and DOES 1-30,
 6

 7                    Defendants
 8

 9

10
            Plaintiff Robert Coache (“Coache”) brings now his complaint for damages against
11
     Defendants Las Vegas Metropolitan Police Department (“LVMPD”), Las Vegas
12
     Metropolitan Police Detective Colin Haynes (“Haynes”), Las Vegas Metropolitan Police
13
     Detective Nathan Chio (“Chio”), Clark County, Clark County Special Deputy District
14
     Attorney Marc DiGiacomo (“DiGiacomo”), Clark County Deputy District Attorney Sarah
15
     E. Overly (“Overly”),and DOES 1 through 30, (collectively “Defendants”) as a result of
16
     Defendants’ wrongful conviction of Coache for the crimes of bribery, extortion,
17
     conspiracy and money laundering, crimes Coache did not commit.
18
            As a result of the misconduct of the Defendants, Coache has sustained significant
19
     damages, including loss of his liberty, loss of his income, loss of his property, loss of his
20
     professional license and professional reputation, severe emotional distress, and many
21
     other forms of damage as described hereafter.
22

23
                                         INTRODUCTION
24
            1.     Coache spent over sixteen months in prison and was on parole for
25
     conspiracy to commit extortion by public officer or employee, extortion by public officer
26
     or employee, conspiracy to commit asking or receiving bribe by public officer, asking, or
27   receiving bribe by public officer, conspiracy to commit money laundering, and forty-four
28



                                              COMPLAINT

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 1
     counts of money laundering before the Nevada Supreme Court issued a unanimous
 2   decision ordering all forty-nine of the wrongful convictions be reversed.
 3
            2.     Coache, who was 55 at the time of the alleged crimes, is completely
 4
     innocent of the forty-nine crimes for which he was charged and found guilty by jury trial.
 5
            3.     Coache’s wrongful conviction was no accident. It was the direct result of
 6
     misconduct by Defendant LVMPD Detectives and Clark County Deputy District
 7
     Attorneys
 8
            4.     Coache consistently and adamantly maintained his innocence of the alleged
 9
     crimes.
10
            5.     No evidence linked the innocent Coache to the alleged crimes in any way.
11
     In fact, on November 14, 2018, during oral arguments held before the Nevada Supreme
12
     Court, when questioned, Defendant DiGiacomo admitted that he did not have any
13
     evidence that Coache committed any of the crimes for which he was unlawfully
14
     convicted. The magnitude of such an admission by Defendant DiGiacomo, a high-
15
     ranking Special Deputy District Attorney, before the Nevada Supreme Court Justices,
16
     that he pursued charges, prosecution, and the incarceration of Coache knowing he had no
17
     evidence of guilt cannot be understated.
18
            6.     The LVMPD Detectives’ conduct was overseen by Defendant supervising
19
     officers who, upon information and belief, knew or should have known of the misconduct
20
     of the LVMPD Detectives, lack of training, fabrication of crimes, false statements, and a
21   complete lack of evidence
22          7.     The Deputy District Attorney’s conduct was overseen by Defendant
23   supervising Attorneys who, upon information and belief, knew or should have known of
24   the misconduct of the Special Deputy District Attorney’s and Deputy District Attorney
25   malicious altering of Court Documents, false statements, solicitation of false statements
26   and complete lack of evidence
27          8.     Like a volcanic eruption, the rarity of Nevada Supreme Court Justices
28   unanimously stating that no reasonable juror should have convicted Coache, puts any

                                             COMPLAINT

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 1
     interested party on notice that the instant prosecution was seriously flawed. For instance,
 2   in addition to Defendant DiGiacomo admitting he had no evidence of a crime, the State
 3   never charged the person, John Lonetti, who supposedly gave the bribe to Michael
 4   Johnson with any crime. Coache’s wrongful conviction was ordered to be reversed by the
 5   Nevada Supreme Court on July 19, 2019. The convictions were subsequently vacated on
 6   December 2, 2020.
 7

 8                                 JURISDICTION AND VENUE
 9          9.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the
10   deprivation under color of law of Coache’s rights as secured by the United States
11   Constitution.
12          10.      This Court has subject matter jurisdiction because the torts and wrongful
13   acts of the Defendants took place in Clark County, Nevada.
14          11.      The Court has personal jurisdiction over the Defendants because they reside
15   in Clark County, Nevada.
16          12.      Venue is properly laid in the Clark County District Court of Nevada, the
17   District in which the claims arose.
18          13.      Plaintiff respectfully demands a trial by jury on all issues and claims set
19   forth in this Complaint, pursuant to the Seventh Amendment of the United States
20   Constitution and Fed. R. Civ. P. 38(b).
21

22                                          THE PARTIES
23          14.      Plaintiff Coache is currently 62 years old and is a resident of Las Vegas,
24   Nevada, where he lives with his wife. He was fifty-eight years old at the time of his
25   wrongful conviction.
26          15.      Defendant Chio was, at all times relevant to this Complaint, employed as a
27   law enforcement officer and employee of Defendant LVMPD. Defendant Chio acted
28   under color of law and within the scope of his employment pursuant to the statutes,

                                                COMPLAINT

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     ordinances, regulations, policies, customs, and usage of the LVMPD, Clark County, and
 2   the State of Nevada. Defendant Chio is sued in his individual capacity. Upon information
 3   and belief, Defendant Chio is entitled to indemnification under statute and by contract.
 4          16.     Defendant Haynes was, at all times relevant to this Complaint, employed as
 5   a law enforcement officer and employee of Defendant LVMPD. Defendant Haynes acted
 6   under color of law and within the scope of his employment pursuant to the statutes,
 7   ordinances, regulations, policies, customs, and usage of the LVMPD, Clark County, and
 8   the State of Nevada. Defendant Haynes is sued in his individual capacity. Upon
 9   information and belief, Defendant Haynes is entitled to indemnification under statute and
10   by contract.
11          17.     Defendant LVMPD is a political subdivision of the State of Nevada and
12   employed the Defendants Chio and Haynes. The LVMPD is liable for all state law torts
13   committed by the Defendants Chio and Haynes while they were employed by the
14   LVMPD pursuant to the doctrine of respondeat superior. The LVMPD is responsible for
15   its own policies, practices, and customs and the violation of Coache’s constitutional
16   rights that were caused by its policies,
17          18.     Defendant DiGiacomo was, at all times material, a special deputy district
18   attorney for the District Attorney’s Office for Clark County, Nevada (“Clark County
19   District Attorney’s Office”). DiGiacomo acted under color of law and within the scope of
20   his employment pursuant to the statutes, ordinances, regulations, policies, customs, and
21   usage of the Clark County, and the State of Nevada. DiGiacomo is sued in his individual
22   capacity. Upon information and belief, DiGiacomo is entitled to indemnification by the
23   Clark County District Attorney’s Office under statute and by contract.
24          19.     Defendant Overly was, at all times material, a deputy district attorney for
25   the Clark County District Attorney’s Office. Overly acted under color of law and within
26   the scope of her employment pursuant to the statutes, ordinances, regulations, policies,

27   customs, and usage of Clark County, and the State of Nevada. Overly is sued in her

28   individual capacity. Upon information and belief, Overly is entitled to indemnification by
     the Clark County District Attorney’s Office under statute and by contract.
                                                COMPLAINT

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            20.    Defendant Clark County is a political subdivision of the State of Nevada
 2   which is formed and operated pursuant to the Nevada Revised Statutes. At all times
 3   relevant to the complaint, the Clark County District Attorney’s Office was a subdivision
 4   of Clark County (collectively “Clark County”) and employed the Defendants DiGiacomo
 5   and Overly. Clark County is liable for all state law torts committed by the Defendants
 6   DiGiacomo and Overly while they were employed by Clark County pursuant to the
 7   doctrine of respondent superior. Clark County is responsible for its own policies,
 8   practices, and customs and the violation of Coache’s constitutional rights that were
 9   caused by its policies,
10          21.    Defendants DOES 1-10 were employed by LVMPD and were acting within
11   the course and scope of their employment with the LVMPD, and with authority as such
12   agents and employees, and with the consent and ratification of their Co-defendants and
13   the LVMPD.
14          22.    DOES 11-20 were employed by Clark County and were acting within the
15   course and scope of their employment with the Clark County DA, and with authority as
16   such agents and employees, and with the consent and ratification of their Co-defendants
17   and Clark County.
18          23.    The true names and capacities of Defendants DOES 1 through 30,
19   inclusive, are unknown to Coache, who therefore sues said Defendants by such fictitious
20   names. Each of the Defendants designated herein as a DOE is negligently or otherwise
21   legally responsible in some manner for the events and happenings herein referred to, and
22   caused injuries and damages proximately thereby to Coache, as herein alleged. Coache
23   will ask leave of Court to amend this Complaint to show their names and capacities when
24   they have been ascertained.
25          24.    At all times herein mentioned, Defendants were the agents, servants, and
26   employees of each other, and at all times pertinent hereto were acting within the course

27   and scope of their authority as agents, servants and/or employees, and acting on the

28   implied and actual permission and consent.


                                             COMPLAINT

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 1

 2   //
 3
                     FACTS RELEVANT TO ALL CLAIMS FOR RELIEF
 4
     Coache And Johnson Bought Acreage Called the “Madras Property”
 5

 6           25.   Coache is the former deputy state engineer and chief engineer for the
 7   Southern Nevada branch office of the Nevada State Engineer (“State Engineer”) located
 8   in Las Vegas, Nevada. Coache worked for the State Engineer’s office from 1981 until
 9   2010.
10           26.   The State Engineer is appointed by the Director of the Nevada Department
11   of Conservation and Natural Resources. The State Engineer has the sole statutory
12   authority to issue permits for water users to divert water from all sources in the State,
13   except the Colorado River. For example, if a user wants to divert water from the Virgin

14   River for use in Nevada, that user must obtain a permit from the State Engineer to do so.

15           27.   While employed by the State Engineer’s office as the Chief Engineer and

16
     Deputy State Engineer, Coache did not have the Statutory authority to issue permits.

17
             28.   Michael Johnson (“Johnson”) was at all times material employed by the

18
     Virgin Valley Water District (“VVWD”). Johnson also performed consulting work to

19
     drill wells and secure groundwater rights for individuals in Southern Nevada.

20
             29.   Coache and Johnson were friends. In 2004, Johnson and Coache bought 40

21
     acres of land high above the Virgin River on “Mormon Mesa” near Moapa, Nevada, for
     $70,000 (the “Madras Property”). Coache owned 60% of the Madras Property and
22
     Johnson owned 40% of the property.
23
             30.   John Lonetti (“Lonetti”) owned an application for water rights and
24
     permitted water rights for diversion from the Virgin River appurtenant to land along the
25
     Virgin River near Mesquite, Nevada. Johnson met Lonetti in the 1990s and for many
26
     years consulted with Lonetti, helping him understand his water rights and how to develop
27
     them.
28



                                              COMPLAINT

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            31.    Lonetti has never been accused of anything improper. Lonetti did not testify
 2   at trial. There is nothing in the record to support the proposition that Lonetti was in any
 3   way a “victim.”
 4          32.    Coache was not involved in any transaction with Lonetti. Johnson did not
 5   seek Coache’s assistance in working on behalf of Lonetti, and Coache was not involved
 6   in the water and consulting transactions relevant to this case.
 7

 8   The State Granted Lonetti a Permit for Virgin River Water
 9          33.    As discussed above, the appointed State Engineer has the sole authority to
10   issue water permits in the State of Nevada. The first step in obtaining a water right is to
11   identify a point of diversion from a water source. Next, an application to appropriate
12   public waters must be made to the State Engineer to divert water from the source. The
13   application must identify the point of diversion, the quantity of water requested, and the
14   beneficial use. When the State Engineer considers an application, the State Engineer must
15   consider: whether there is existing water at the source; whether existing water can be
16   appropriated, considering other existing appropriations; whether approval would conflict
17   with existing rights; and, whether the issuance of the permit would impair the rights of a
18   domestic well user. These criteria are codified at NRS 533.370.
19          34.    The ultimate decision to approve or deny an application is made by the
20   State Engineer, who often makes that decision after a “Ready for Action” committee
21   makes a recommendation. If the application is granted, and the fee paid, the applicant
22   owns a permit to divert water. To perfect the water right, the permit owner must divert
23   the water and apply it to a beneficial use for one year, which must be accomplished
24   within five years. When proof of same is filed with the State Engineer, the water right
25   becomes certified.
26          35.    However, even prior to certification, a permit has value and can be bought

27   and sold at any stage of the process. Nevada is a “Prior Appropriation” State, which

28   means that every water right has a priority date, determined by the date the application
     for appropriation is filed with the State Engineer. In theory, “senior” water rights (water
                                              COMPLAINT

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     rights that were applied for at an earlier date) must be satisfied prior to “junior” water
 2   rights (which were requested later in time), which makes senior water rights more
 3   valuable than junior water rights in case of curtailment due to inadequate supply. In
 4   practice, absent an ordered curtailment, the priority date has no effect on the actual use of
 5   the water rights.
 6          36.    From 1989 through 1994, SNWA filed multiple applications with the State
 7   Engineer to appropriate Virgin River water. These efforts were part of SNWA’s attempts
 8   to obtain water from rural Nevada in order to satisfy the increasing demands of Clark
 9   County. SNWA also filed applications to obtained water from Nye, Lincoln, and White
10   Pine counties.
11          37.    In 1994, the State Engineer issued Ruling 4151, which SNWA interpreted
12   as allocating all remaining unappropriated water from the Virgin River, approximately
13   190,000 acre-feet annually (approximately 6.2 billion gallons of water), to SNWA.
14          38.    Ruling 4151 ignored the fact that Lonetti had previously (1990) filed
15   Application 54383, awaiting action from the State Engineer. Lonetti’s 1990 application
16   was senior to SNWA’s 1993 application approved as part of ruling 4151.
17          39.    As discussed above, Lonetti filed an application for water rights in 1990.
18   The State Engineer, Jason King, testified that Lonetti’s application fell through the cracks
19   at the State Engineer’s office. Even when the State Engineer issued Ruling 4151 in 1994,
20   the State Engineer did not act upon Lonetti’s senior (1990) application.
21          40.    On January 4, 2006, 16 years after Lonetti’s application, the State Engineer
22   sent Lonetti a letter asking whether he remained interested in pursuing his 1990 permit
23   application (#54383). Lonetti was given 30 days to respond to the State Engineer.
24          41.    Not surprisingly, Lonetti consulted with Johnson regarding the matter.
25   Lonetti wanted Johnson to help him turn his 1990 application into an extremely valuable
26   permit (Johnson was familiar with NRS Chapter 533 and discovered that applications

27   junior to Lonetti’s 1990 application had been granted by the State Engineer). With

28   Johnson’s help, Lonetti replied that he needed more time to respond because of the
     complexities inherent in the water issues regarding the Virgin River.
                                              COMPLAINT

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 1
            42.    Subsequently, with Johnson’s help, Lonetti informed the State Engineer
 2   that he did intend to pursue the 1990 application.
 3          43.    The State Engineer granted Lonetti’s permit on June 29, 2007. Coache, who
 4   worked in the State Engineer’s Las Vegas office, had nothing to do with the granting of
 5   Lonetti’s permit, and in fact was unaware at the time of Lonetti’s application being
 6   granted by the State Engineer. No one at the State Engineer’s office discussed Lonetti’s
 7   application with Coache.
 8

 9   Lonetti Contracted to Pay Johnson a Consulting Fee for Hydrologic, Title,
10   Development and Marketing Services
11          44.    On February 1, 2007, Johnson and Lonetti had executed an agreement for
12   consulting services. In exchange for Johnson (through Rio Virgin, LLC) providing
13   Lonetti with hydrologic, title, development and marketing services, Johnson (through Rio
14   Virgin, LLC) received 10% ownership of Permit 3085 and 25% ownership of Application
15   54383 appurtenant to any water rights obtained appurtenant to application 54383 through
16   Johnson’s efforts.
17          45.    Coache was not involved in any transaction with Lonetti. Johnson did not
18   seek Coache’s assistance in working on behalf of Lonetti. In fact, Coache had never
19   spoken to or meet Lonetti until sometime in 2012.
20

21   Lonetti, SNWA and VVWD Enter into a Three-way Trade of Water Rights
22          46.    In December 2007 six months after the granting of Lonetti’s permit 54383,
23   the seven states sharing the Colorado River entered into an agreement with the federal
24   government regarding the Colorado River and its tributaries. A provision of the “Seven
25   States Agreement” was the creation of a class of water referred to as Intentionally
26   Created Surplus, which allowed SNWA to purchase water from the Virgin River and

27   Muddy River, allow that water to enter Lake Mead, and then allow SNWA to divert that

28   water for its use. SNWA had not been allowed to do this prior to the Seven States
     Agreement.
                                             COMPLAINT

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            47.    This agreement represented a seismic shift in the Law of the Colorado
 2   River, but the relevant provision only applied to pre-1929 water rights (1929 is the date
 3   of the Boulder Canyon Project Act). The Agreement enhanced the value of pre-1929
 4   water rights, but only for SNWA’s particular use.
 5          48.    After December 2007, SNWA began actively pursuing the purchase of pre-
 6   1929 water rights from the Virgin River and Muddy River. The importance of the Seven
 7   States Agreement cannot be overstated with the provision that in the State of Nevada it
 8   only applied to SNWA’s use of the water.
 9          49.    With the issuance of Permit 54383, Lonetti owned two permits, 54383 and
10   3085. Permit 3085 was old surface water, approximately 601 acre-feet annually of pre
11   1929 water, with a priority date of 1914. Permit 54383 was newer surface water, 1,200
12   acre-feet annually, with a priority date of 1990. Permit 3085 was much more valuable
13   than 54383 because the pre-1929 water was more valuable to SNWA due to the 2007
14   Seven States Agreement.
15          50.    In January 2008, SNWA learned that Lonetti wanted to sell his Permits.
16   SNWA was interested in purchasing 3085 (valued at $5.1M), but not 54383. Johnson
17   suggested to SNWA’s John Entsminger that SNWA purchase both permits from Lonetti
18   and then trade Permit 54383 to VVWD for Virgin River water shares which VVWD
19   owned in the Bunkerville Irrigation Company (89 shares, 890 acre-feet annually of pre-
20   1929 water). Entsminger believed this transaction was beneficial for SNWA because
21   SNWA would obtain 601 acre-feet annually of pre-1929 water from Lonetti’s Permit
22   3085, plus 890 acre-feet annually of pre-1929 water from VVWD. Entsminger also
23   believed that the transaction was beneficial to VVWD because VVWD would trade 890
24   acre-feet annually of pre-1929 water for 1,200 acre-feet annually of water from Lonetti’s
25   Permit 54383. VVWD did not care whether its water was pre-1929 water as it was not a
26   party to the Seven States Agreement. Put simply, VVWD would gain water without

27   having to pay for that additional water.

28          51.    Thus, VVWD got more surface water than it gave up. In addition to
     receiving more Virgin River surface water VVWD also received the remaining one-half
                                                COMPLAINT

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 1
     interest in applications for up to 65,000 acre-feet annually of ground water located within
 2   the Virgin River Valley Hydrographic Basin and 5,000 acre-feet annually of additional
 3   Virgin River surface water with senior priority over all of SNWA’s Virgin River surface
 4   water rights. The transaction was a win-win for all parties involved.
 5          52.      The trade was a good transaction for both water districts. SNWA received
 6   890 acre-feet annually of pre 1929 surface water that could be wheeled to Lake Mead via
 7   the Virgin River and withdrawn from Lake Mead for use in the Las Vegas Metropolitan
 8   area and VVWD received ownership of 1,200 acre-feet annually of Virgin River surface
 9   water rights.
10          53.      Lonetti agreed to the transaction. SNWA agreed to the transaction. VVWD
11   agreed to the transaction and the VVWD Board unanimously approved the transaction.
12   On May 20, 2008, SNWA paid Lonetti $8.4M for Permits 3085 and 54383. Then,
13   SNWA exchanged Permit 54383 to VVWD for 89 shares of the Bunkerville Irrigation
14   Company, as described above. Lonetti paid Rio Virgin, LLC solely owned by Johnson
15   $1.3M pursuant to the consulting agreement, Coache was not involved with this sale and
16   exchange of water rights.
17

18   Pursuant to Their Agreement, Lonetti Paid Johnson the Consulting Fee for Getting
19   and Then Selling Water Rights
20          54       At the request of Johnson, Steve Templeton (“Templeton”) agreed to assist
21   Johnson in setting up a Limited Liability Company for a potential commercial real estate
22   development business and with the design and construction of potential projects. To that
23   end, Templeton set up a limited liability company on Johnson’s behalf called “Rio Virgin
24   LLC”. Coache was not involved in setting up the LLC or in any agreements Johnson and
25   Templeton may have had.
26          55       Pursuant to their agreement, Lonetti paid Johnson $1.3 million based on his

27   partial ownership of Permits 3085 and 54383 previously obtained per the consulting

28   agreement. Johnson asked Lonetti to wire the $1.3 million commission into the Rio
     Virgin LLC bank account. The deposit was made on May 21, 2008.
                                              COMPLAINT

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     //
 2

 3   Coache Sold His Membership Interest of the Madras Property to Johnson
 4          56     As discussed above, Johnson and Coache had been friends for years. In
 5   2004, they purchased an investment property together, a 40-acre parcel, and held title to
 6   the property in the name of Madras, LLC. Coache owned 60% of Madras and Johnson
 7   owned 40% of Madras. The Madras Property was appraised in May 2008 at $1,040,000.
 8   Coache agreed to sell his 60% share of the property to Johnson for $600,000. When
 9   Johnson received his $1.3 M consulting fee from Lonetti, Johnson traded 50% of Rio
10   Virgin, LLC to Coache for Coache’s 60% interest in Madras, LLC. This was how Coache
11   became involved in this case because he owned 60% in Madras, LLC and traded the 60%
12   in Madras, LLC for 50% of Rio Virgin, LLC, the entity which received the $1.3M
13   consulting fee from Lonetti.
14          57     Between 2008 and 2010, Coache used his $600,000 in the Rio Virgin bank
15   account to make joint purchases of real estate with Johnson, invest in stocks with Johnson
16   through Charles Schwab and loaned some of the money to his son to buy a home.
17          58     Coache declared the $600,000 on his personal income tax return. Coache’s
18   certified public accountant advised Coache he had prepared thousands of returns and that
19   Coache’s returns were typical.
20          59     In 2010, with the exception of a rental home, Johnson and Coache decided
21   to divest their joint investments from Rio Virgin, LLC. Sometime after the divestment of
22   their joint investments, Templeton filed for the dissolution of the Rio Virgin LLC.
23          60     According to the State’s logic, Coache must have been Johnson’s co-
24   conspirator in making Lonetti’s Permit 54383 happen. This was all innuendo. The
25   issuance of Permit 54383 was not only above board, but was mandated by statute, and
26   Coache had absolutely no involvement in the issuance of Permit 54383.

27          61     Because the State assumed a conspiracy, where none occurred, and

28   assumed bribery, extortion, and misconduct, none of which were supported by the facts


                                             COMPLAINT

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     or the evidence, the State further assumed that every financial transaction by Johnson and
 2   Coache in any way relating back to the $1.3M constituted money laundering.
 3

 4   The District Attorney Charged Coache with Crimes
 5          62     On May 25, 2011, the Clark County District Attorney filed a complaint
 6   against Coache, charging him with conspiracy to commit extortion by a public officer or
 7   employee (NRS 199.480); extortion by a public officer or employee (NRA 197.170);
 8   conspiracy to ask for or receive a bribe (NRS 197.040; NRS 199.480); misconduct of a
 9   public officer (NRS 197.110); conspiracy to commit money laundering (NRS 199.480;
10   NRS 207.195); and money laundering (NRS 207.195).
11

12   Defendants DiGiacomo and DOES 11-20 Knew There Were Insufficient Facts to
13   Charge Coache with Extortion or Bribery
14          63     NRS 197.170 states that “a public officer or employee who (1) asks,
15   receives or agrees to receive a fee or other compensation for official service or
16   employment either: (a) in excess of the fee or compensation allowed by statute therefor;
17   or (b) Where a fee or compensation is not allowed by statute therefor; or (2) Requests
18   money, property or anything of value which is not authorized by law, from any person
19   regulated by the public officer or employee, and in a manner which would cause a
20   reasonable person to be intimidated into complying with the request to avoid the risk of
21   adverse action by the public officer or employee, commits extortion.”
22          64     NRS 197.040 states: “A person who executes any of the functions of a
23   public office not specified in NRS 197.030, 199.020 or 218A.965, and a person employed
24   by or acting for the State or for any public officer in the business of the State, who asks or
25   receives, directly or indirectly, any compensation, gratuity or reward, or any promise
26   thereof, upon an agreement or understanding that his or her vote, opinion, judgment,

27   action, decision or other official proceeding will be influenced thereby, or that he or she

28   will do or omit any act or proceeding or in any way neglect or violate any official duty, is
     guilty of a category C felony.”
                                              COMPLAINT

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 1
            65      Defendant DiGiacomo knew before charging Coache with violation of NRS
 2   197.170 and NRS 197.040, that Coache did not request or receive any money for
 3   performing his duties as a deputy state engineer other than his normal salary. Defendant
 4   DiGiacomo knew before charging Coache with violation of NRS 197.170, that Coache
 5   did not grant, or influence the granting, of Lonetti’s application for water rights.
 6          66      Defendant DiGiacomo knew before charging Coache with violation of NRS
 7   197.170 and NRS 197.040, that Coache did not perform any act to award water rights to
 8   Lonetti or trade those rights with VVWD or SNWA.
 9          67      Defendant DiGiacomo knew before charging Coache with violation of NRS
10   197.170 and NRS 197.040, that Lonetti entered into a contract with Johnson whereby
11   Johnson agreed to perform hydrologic, title, development, and marketing services for
12   Lonetti’s relative to Lonetti’s permit and application for water rights on file with the State
13   Engineer and to help Lonetti maximize those water rights in exchange for a small
14   ownership of those rights.
15          68      Defendant DiGiacomo knew before charging Coache with violation of NRS
16   197.170 and NRS 197.040, that Johnson did not seek Coache’s assistance at any stage
17   helping Lonetti. Defendant DiGiacomo knew that the State Engineer and his employees
18   did not ask Coache for any help in deciding whether to grant Lonetti’s application.
19          69      Defendant DiGiacomo knew before charging Coache with violation of NRS
20   197.170 and NRS 197.040, that Coache never communicated with Johnson, Lonetti or the
21   state engineer’s office employees regarding Lonetti’s application.
22          70      Defendant DiGiacomo knew before charging Coache with violation of NRS
23   197.170 and NRS 197.040, that Coache simply had nothing to do with the granting of the
24   Lonetti permit. Instead, a basin engineer with the State evaluated Lonetti’s application.
25   Then, senior managers in the state engineer’s Carson City office evaluated the
26   application.

27          71      Of course, Defendant DiGiacomo knew, as he admitted to the Nevada

28   Supreme Court, that he had no evidence that Coache committed the crimes of extortion
     or bribery.
                                              COMPLAINT

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 2   //
 3   Defendants DiGiacomo and DOES 11-20 Knew There Were Insufficient Facts to
 4   Charge Coache with Conspiracy
 5          72     NRS 199.480(3) states in pertinent part: “Whenever two or more persons
 6   conspire:
 7          (a) To commit any crime other than those set forth in subsections 1 and 2, and no
 8          punishment is otherwise prescribed by law;
 9          (b) Falsely and maliciously to procure another to be arrested or proceeded
10          against for a crime;
11          (c) Falsely to institute or maintain any action or proceeding;
12          (d) To cheat or defraud another out of any property by unlawful or
13          fraudulent means;
14          (e) To prevent another from exercising any lawful trade or calling, or from
15          doing any other lawful act, by force, threats, or intimidation, or by
16          interfering or threatening to interfere with any tools, implements or
17          property belonging to or used by another, or with the use or employment
18          thereof;
19          (f) To commit any act injurious to the public health, public morals, trade, or
20          commerce, or for the perversion or corruption of public justice or the due
21          administration of the law; or
22          (g) To accomplish any criminal or unlawful purpose, or to accomplish a
23          purpose, not in itself criminal or unlawful, by criminal or unlawful means,
24          each person is guilty of a gross misdemeanor.”
25          73     Defendant DiGiacomo knew before charging Coache that Coache did not
26   enter into any agreement for any unlawful purpose. Defendant DiGiacomo knew Coache
27   had no communications, let alone agreements, with Johnson or Lonetti regarding
28   Lonetti’s application for water rights.

                                               COMPLAINT

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            74     Defendant DiGiacomo knew before charging Coache that Coache had no
 2   communications, let alone agreements, with anyone at the state engineer’s office
 3   regarding Lonetti’s water rights. Defendant DiGiacomo knew Coache had no
 4   communications with Johnson or employees of VVWD or SNWA regarding the three-
 5   way trade of water rights.
 6          75     Of course, Defendant DiGiacomo knew, as he admitted to the Nevada
 7   Supreme Court, that he had no evidence that Coache committed the crime of conspiracy.
 8

 9   Defendants DiGiacomo and DOES 11-20 Knew There Were Insufficient Facts to
10   Charge Coache with Money Laundering
11          76     NRS 207.195 states that “if a monetary instrument represents the proceeds
12   of or is directly or indirectly derived from any unlawful activity, it is unlawful for a
13   person, having knowledge of that fact: (a) to conduct or attempt to conduct a financial
14   transaction involving the instrument: (1) with the intent to further any unlawful activity;
15   (2) with the knowledge that the transaction conceals the location, source, ownership or
16   control of the instrument; or (3) with the knowledge that the transaction evades any
17   provision of federal or state law that requires the reporting of a financial transaction.”
18          77     Defendant DiGiacomo knew before charging Coache with violation of NRS
19   207.195 that Coache had committed no unlawful actions. The statute itself states that to
20   be convicted of money laundering, the State must prove that the money that was
21   “laundered” came from unlawful activity.
22

23   DiGiacomo Opposed Coache’s Motion to Dismiss the Charges Against Him
24          78     Defendant DiGiacomo himself admitted he knew he had no evidence that
25   Coache committed any of the crimes with which he charged Coache and therefore should
26   never have brought charges against Coache. On August 30, 2011, Coache filed a motion

27   to dismiss the charges against him for lack of evidence. The motion argued that Coache

28   committed no crimes because he never had anything to do with the granting of Lonetti’s
     water permits.
                                              COMPLAINT

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            79     The Court should have granted the motion, but Defendant DiGiacomo
 2   vigorously opposed the motion, claiming he would produce evidence to support the
 3   charges. The Court therefore denied Coache’s motion. Of course, as Defendant
 4   DiGiacomo admitted to the Nevada Supreme Court, he had no such evidence.
 5          80     Defendant DiGiacomo went as far as tell the jury that Coache was the one
 6   responsible in Southern Nevada for giving out the right to water. Again, DiGiacomo
 7   knew that this statement was not true. He knew King would testify that the only person
 8   with any authority to issue a permit is the State Engineer.
 9          81     In his opening statement, Defendant DiGiacomo stated, “A record from a
10   file from, oh so long ago, that’s missing half of its contents suggests that [Coache] did
11   something to permit [the granting of Lonetti’s application].
12          82     Again, the prosecutor had learned from his own witnesses before trial that
13   he had not a shred of evidence that Mr. Coache had anything to do with the granting
14   Lonetti’s application.
15          83     Defendant DiGiacomo knew that Coache was never the State Engineer, did
16   not sign the Lonetti water permit involved in this case, nor have anything to do with
17   granting the permit.
18

19   The Evidence at Trial Overwhelmingly Proved Coache Innocent of All Charges
20          The Government Did Not Present Evidence of a Bribe or Extortion
21          84     Defendant DiGiacomo told the jury that Coache used his influence as a
22   deputy state engineer to get the Lonetti permit granted. Defendant DiGiacomo knew by
23   his own admission to the Nevada Supreme Court that was a lie.
24          85     The Government presented no evidence that Coache did anything to assist
25   the granting of Lonetti’s permit or assist in the three-way trade among Mr. Lonetti,
26   VVWD and SNWA. All of the evidence presented at trial showed that Coache did not

27   even know about the Lonetti permit.

28



                                              COMPLAINT

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            86     Two state engineers testified at trial. State Engineer, Tracy Taylor, testified
 2   at trial that he did not rely on Coache for any information, advice, or input regarding the
 3   Lonetti water right application.
 4          87     State engineer Jason King also testified that he did not talk to Coache about
 5   the Lonetti application. No one testified that Coache had anything to do with the granting
 6   of the Lonetti permit.
 7          88     Defendant DiGiacomo told the jury that Coache received a “bribe” of
 8   $600,000. By his own admission to the Nevada Supreme Court Defendant DiGiacomo
 9   knew that was also a lie. Indeed, the Government never presented any evidence at trial
10   that Coache received a bribe, committed extortion, or entered into any conspiracy to
11   commit extortion or receive a bribe.
12          89     To be exact, the Government never presented any evidence that VVWD,
13   SNWA or Lonetti paid any money to Coache even though both agencies gained value
14   from the water rights trade.
15          90     The only money the Government presented to the jury that Coache received
16   was from Johnson to buy out his membership interest in the mutually owned Madras
17   Property.
18          91     Because there was no bribe, the Government of course could not prove
19   there was one.
20

21          The Government Did Not Present Evidence of Money Laundering
22          92     Because Coache did not receive money from any unlawful activity, Coache
23   was not guilty of money laundering. The Defendants presented no evidence Coache ever
24   obtained any money from any illegal source or activity and Defendant DiGiacomo
25   admitted to the Nevada Supreme Court that he had no evidence to present. Instead, the
26   undisputed evidence at trial was that the only money Coache received was the fair market

27   value of his 60% ownership of the Madras property from Johnson.

28

            The Government Did Not Present Evidence of a Conspiracy
                                              COMPLAINT

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           93     At trial, the Government presented no evidence that Coache entered into
 2   any agreement for any unlawful purpose. Defendants presented no evidence that Coache
 3   had any communications, let alone agreements, with Johnson or Lonetti regarding
 4   Lonetti’s application for water rights and Defendant DiGiacomo admitted to the Nevada
 5   Supreme Court that he had no evidence to present.
 6         94     At trial, the Defendants presented no evidence that Coache had any
 7   communications, let alone agreements, with anyone at the State Engineer’s office
 8   regarding Lonetti’s water rights. Defendants presented no evidence at trial that Coache
 9   had any communications with Johnson or employees of VVWD or SNWA regarding the
10   three-way trade of water rights and Defendant DiGiacomo admitted to the Nevada
11   Supreme Court that he had no evidence to present.
12         95     The Defendants failed to prove that Coache’s sale of his share of the
13   Madras Property was a “conspiracy” to commit “an illegal act.” To the contrary, it was
14   conclusively proven at trial that the agreements between Johnson and Coache regarding
15   the Madras Property were entirely legal.
16         96     Because the State failed to prove that Coache entered into any agreement
17   with anyone to perform an illegal act, the State failed to prove any conspiracy by Coache.
18

19   Defendants DiGiacomo and Haynes Conspired to Present False Evidence
20         97     Defendant DiGiacomo called Defendant Haynes as a trial witness.
21   Defendant Haynes is a detective with Defendant LVMPD and claimed to be a certified
22   money laundering specialist.
23         98     Defendant DiGiacomo had Haynes testify that Coache’s financial activity
24   was consistent with money laundering. Yet Defendants DiGiacomo and Haynes knew
25   that to constitute money laundering, the accused’s money must have derived from illegal
26   activity. Defendant DiGiacomo knew that Defendant Haynes had absolutely no idea

27   whether Coache ever received money from any illegal activity.

28         99     Despite having Defendant Haynes testify to money laundering, Defendant
     DiGiacomo knew that Johnson and Coache bought the Madras Property in 2004, then
                                            COMPLAINT

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     Johnson decided to buy out Coache’s 60% share of the Madras Property. Since the
 2   Madras Property was worth about $1 million, Johnson paid Coache $600,000 for his 60%
 3   ownership of the property.
 4          100    Defendants DiGiacomo and Haynes therefore knew very well that the
 5   $600,000 Coache received from Johnson was from Coache’s sale of his interest in the
 6   Madras property and not from any illegal activity, which Defendant DiGiacomo
 7   acknowledged before the Nevada Supreme Court when he stated he had no evidence
 8   Coache committed any of the crimes of which he was unlawfully convicted.
 9   Nevertheless, Defendant DiGiacomo had Defendant Haynes, the Government’s money
10   laundering expert, tell the jury that Coache laundered $600,000.
11          101    Defendants DiGiacomo and Haynes therefore knew very well that Coache
12   received the money from a legal sale of real property.
13

14   Defendants DiGiacomo and Chio Conspired to Present False Evidence
15          102    Defendant DiGiacomo had LVMPD Sergeant Nathan Chio falsely testify
16   that Coache had the authority to title water permits and if he was a party to the Lonetti
17   agreement, he had committed a criminal offense. The truth, of course, well established by
18   numerous witnesses, was that Coache had no authority to “title water permits” and was
19   not a party to the Lonetti/Johnson agreement. It should be noted that Defendant
20   DiGiacomo and Chio’s investigative work was so inept they did not know that there is no
21   such terminology as “title water permits” With regards to the water rights process.
22          103    Defendant DiGiacomo also had Defendant Chio read from Defendant’s
23   Exhibit O, an email prepared by an employee of the police department containing a
24   hearsay statement about the case to support the preparation of subpoenas. The exhibit
25   stated that “in 2005, Robert Coache (now retired state engineer) reviewed and approved a
26   water rights purchase by Virgin Valley Water Authority in which the water authority and

27   its members paid over $750,000.00 too much to a private seller for water rights.”

28          104    Not only was the statement hearsay, but Defendant DeGiacomo also said in
     the presence of the jury that the information in Exhibit O was a summary of the facts
                                              COMPLAINT

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     from Johnson himself. Defendant Chio also testified that some of the words in Exhibit O
 2   were from the mouth of Johnson.
 3

 4          105    Defendants DiGiacomo and Chio both knew that the truth was that the
 5   information in the exhibit was not from Johnson. Yet they give the false statement to the
 6   jury that Coache approved a water purchase by VVWD. But Defendants DiGiacomo and
 7   Chio knew that the State Engineer did not regulate the sale of water.
 8          106    Defendants DiGiacomo and Chio also both knew that only the boards of
 9   directors of SNWA and VVWD approved the three-way trade of water rights involving
10   Lonetti, SNWA and VVWD. They knew that the State Engineer was not a party to the
11   three-way trade and Coache was also not involved in the three-way trade or the granting
12   of Lonetti’s permit.
13          107    Defendants DiGiacomo and Chio told the jury that the VVWD was harmed
14   in the sum of $750,000. But both defendants knew that the three-way water rights trade
15   was beneficial to both SNWA and VVWD. The trade was good for VVWD because it
16   received complete ownership of water rights to 1,200-acre-feet annually of surface water.
17   Thus, VVWD got more surface water than it gave up. VVWD also received the
18   remaining one-half interest in applications for up to 65,000 acre-feet of ground water in
19   the basin and 5,000 acre-feet annually of additional surface water with a priority over all
20   other surface water from the 1994 ruling.
21          108    VVWD got a lot more water and more flexibility on how to use it. Simply
22   put, VVWD got a good deal with this transaction; so good in fact was the deal that no one
23   from VVWD testified at trial to allege otherwise. No one testified from VVWD regarding
24   the trade or the fabricated loss of $750,000. Not only did VVWD get more water but the
25   water they got was senior to SNWA’s water. Defendants DiGiacomo and Chio therefore
26   both knew, when they told the jury that VVWD lost $750,000, that the VVWD received

27   great value from the waters rights trade and was not damaged in the sum of $750,000, or

28   in any sum.


                                             COMPLAINT

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 1
     Defendants DiGiacomo and DOES 11-20 Intentionally Violated NRS 48.045 by
 2   Introducing Character Evidence Regarding Coache
 3          109    Defendant DiGiacomo knew that evidence of a person’s character or a trait
 4   of his or her character is not admissible for the purpose of proving that the person acted
 5   in conformity therewith on a particular occasion.
 6          110    Defendant DiGiacomo nevertheless presented evidence at trial that over 25
 7   years ago, Coache’s employer, the State Engineer, asked Coache to get approval before
 8   performing outside consulting work. Defendant DiGiacomo then introduced evidence that
 9   Vidler Water accused Coache of inappropriately permitting their water rights.
10          111    These allegations of long-ago alleged bad acts were prejudicial. The jury
11   was left with the impression that Coache was not a stellar employee of the State
12   Engineer’s office, which he most certainly was. Moreover, Defendant DiGiacomo knew
13   that Coache did not have the statutory authority to permit water rights and that these
14   alleged acts had nothing to do with the charges in this trial.
15

16   Defendant DiGiacomo did not Seek Dismissal of Charges When Trial Testimony
17   Proved Coache Innocent
18          112    Defendant DiGiacomo was of course present throughout Coache’s entire
19   trial. Not only was DiGiacomo fully aware that he did not have the facts to prosecute
20   Coache of the crimes for which he charged Coache, he could see that he was unable to
21   present any evidence to support the charges, which he later admitted before the Nevada
22   Supreme Court.
23          113    Once the Government rested and it was apparent to Defendant DiGiacomo
24   that he had not presented sufficient facts to convict Coache, he had the duty to ask the
25   court to dismiss the charges against Coache. But he did not do so. In failing to ask for
26   dismissal of the case, DiGiacomo violated Coache’s constitutional rights.

27

28   Defendants DiGiacomo and Overly Made Statements to the Jury in Closing
     Argument They Knew to be False
                                              COMPLAINT

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            114     It is well settled that prosecutors have a duty to avoid engaging in conduct
 2   which might deprive defendant of a fair trial and should be unprejudiced, impartial, and
 3   nonpartisan.
 4          115     A prosecutor may not pursue a conviction outside the bounds of acceptable
 5   advocacy. Defendants DiGiacomo and Overly violated Coache’s constitutional rights
 6   when they insinuated to the jury the existence of evidence that was clearly not in the
 7   record.
 8          116     Defendant DiGiacomo’s closing argument was full of misconduct. Ignoring
 9   the evidence that was presented at trial, DiGiacomo fabricated a story about Coache that
10   was not only untrue but bore no semblance to the actual evidence.
11          117     Defendant DiGiacomo even misstated the law to the jury. He said that
12   “This is actually a simple case. This is a case about the taking of money … for having
13   done nothing … then hiding that money and using it for personal gain.” Defendant
14   DiGiacomo knew he had presented no evidence that Coache “took” any money from
15   anyone then “hid” that money.
16          118     Defendant DiGiacomo had his associate, Defendant Overly, tell the jury
17   that the State “didn’t need to prove that Bob Coache's comments or actions actually titled
18   Mr. Lonetti’s [permit].” Defendant Overly said it’s the agreement to receive, or the
19   receipt of, the gain, the money in this case, that is the crime.”
20          119     These statements, of course, all clearly misstated the law. The crimes of
21   both bribery and extortion require misconduct by the accused. NRS 197.170 states that
22   for there to be bribery, the accused must have asked for, received, or agreed to receive
23   compensation for official service which is not authorized by law in a manner which
24   would cause a reasonable person to be intimidated into complying with the request.
25          120     Therefore, to prove bribery or extortion, the Government was required to
26   prove that Coache received extra compensation for his “official service or employment.”

27   But Defendants DiGiacomo and Overly knew that Coache received no money for doing

28   anything to assist Lonetti in obtaining his water rights permit.


                                               COMPLAINT

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           121    Defendant DiGiacomo knew that the only evidence at trial regarding
 2   financial gain by Coache was from the sale of his property interest in Madras to Johnson.
 3   Therefore, Defendant DiGiacomo deliberately mislead the jury.
 4         122    Defendant DiGiacomo told the jury there was no question that Johnson was
 5   working with Coache. “They're involved in something”, he said. This innuendo was
 6   wholly improper given that Defendant DiGiacomo knew that Coache and Johnson were
 7   co-owners of the Madras Property and nothing more. The statement that “They're
 8   involved in something” was obviously meant to imply to the jury that Johnson and Mr.
 9   Coache were involved in something illegal, which DiGiacomo knew they were not.
10         123    Defendant DiGiacomo knew that Coache’s ownership in Rio Virgin was
11   simply payment from Johnson for the sale of Coache’s 60% ownership of Madras.
12   Nevertheless, Defendant DiGiacomo falsely told the jury that Coache’s ownership of Rio
13   Virgin LLC made him guilty of money laundering. That was not true; and Defendant
14   DiGiacomo knew it. In fact, he told the Nevada Supreme Court that he had no evidence
15   for any of the crimes for which Coache was convicted.
16         124    Defendant DiGiacomo showed the contract that was solely between
17   Johnson and Lonetti and flat out told the jury that the contract was between Johnson,
18   Lonetti and Coache.
19         125    Defendant DiGiacomo’s clear fabrication of facts led the jury to believe
20   that Coache had an interest in wanting the Lonetti application granted. The truth was that
21   Coache had no knowledge or interest in Johnson’s agreement with Lonetti or the Lonetti
22   permit.
23         126    The truth is that Johnson did not seek Coache’s assistance at any stage of
24   helping Lonetti. Nor was Coache involved in any transaction at all with Lonetti.
25

26   Defendant DiGiacomo Unlawfully and Maliciously, and Without Any Legal

27   Authority, Altered Jury Instructions

28         127    Defendant DiGiacomo substantially altered Jury Instruction No. 12 which
     initially and appropriately set forth the language of NRS 197.170 (1). Without any legal
                                             COMPLAINT

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     authority in support thereof, Defendant DiGiacomo added the following language to Jury
 2   Instruction No. 12: “A fee or compensation for official service or employment is not
 3   authorized by statute for an employee of a public utility to assist in the transfer of any
 4   water right to his employer.” The unauthorized language was never discussed between
 5   the parties, was not agreed to by the Court or any of the parties and had no basis in law or
 6   fact. This language relieved the State of its burden to prove beyond a reasonable doubt of
 7   proving every fact necessary to constitute the crime of Extortion beyond a reasonable
 8   doubt. Therefore, Defendant DiGiacomo maliciously, purposely, and deliberately
 9   deceived the court and mislead the jury.
10          128    Defendant DiGiacomo substantially altered Jury Instruction No. 15 in
11   reference to the Bribery statute, NRS 197.040. Without any legal authority in support
12   thereof, Defendant DiGiacomo removed the first full sentence and added the following
13   language to Jury Instruction No. 15: “Compliance with a contract by an employee of a
14   public agency is an official duty.” The unauthorized language was never discussed
15   between the parties, was not agreed to by the Court or any of the parties and had no basis
16   in law or fact. Therefore, Defendant DiGiacomo maliciously, purposely, and deliberately
17   deceived the court and mislead the jury.
18

19   Defendant DiGiacomo Opposed Coache’s Motion for Acquittal Based on
20   Insufficiency of The Evidence
21          129    Defendant DiGiacomo knew and admitted to the Nevada Supreme Court
22   that there was insufficient evidence to prove that Coache committed any of the crimes for
23   which he was charged. On November 30, 2016, Coache filed a motion for judgment of
24   acquittal. As a result of Defendant DiGiacomo’s vigorous argument against acquittal, the
25   court denied Coache’s motion.
26          130    Coache was forced to endure 12 days of trial on the charges and was then

27   convicted by a jury on November 23, 2016 of “(1) conspiracy to commit extortion by a

28   public officer or employee, (2) extortion by public officer or employee, (3) conspiracy to
     commit asking [sic] or receiving bribe by public officer, (4) asking or receiving bribe by
                                              COMPLAINT

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     public officer, (5) conspiracy to commit money laundering, and (6) money laundering.”
 2   The Judgment of Conviction was entered on July 3, 2017.
 3          131    Pursuant to the conviction, Coache was sentenced to an aggregate total
 4   sentence of 36 months to 96 months with minimum parole eligibility after serving 36
 5   months. Coache was also ordered to pay $1,327,500.00 in restitution to the Virgin Valley
 6   Water District.
 7

 8   Defendants’ Actions Caused Coache to Become Incarcerated and His Property
 9   Confiscated
10          132    Due to the Defendants’ illegal actions, Coache was forced to spend sixteen
11   months incarcerated and approximately fourteen months on supervised parole.
12          133    Due to Defendants’ illegal actions, Coache lost his engineer’s license.
13          134    Due to Defendants’ illegal actions, the Government confiscated Coache’s
14   assets, including a home for which he loaned money to his son to purchase; a home he
15   purchased with Johnson through Rio Virgin, LLC as well as multiple bank accounts;
16   ordered all of his stock on record at Charles Schwab to be sold; and then confiscated the
17   proceeds of those stock sales.
18

19   Coache Appealed His Convictions to the Nevada Supreme Court, Who Exonerated
20   Him
21          135    Coache appealed the convictions on February 3, 2017.
22          136    On May 16, 2018, Coache was released from prison.
23          137    On July 19, 2019, the Nevada Supreme Court found that a rational trier of
24   fact could not have found the essential elements of Coache’s alleged crimes beyond a
25   reasonable doubt, after viewing the evidence in the light most favorable to the
26   prosecution. The Court found that the evidence was truly insufficient to convict Coache

27   and therefore acquitted him of all crimes with which he was charged. A copy of the Order

28   of Reversal is attached as Exhibit 1.
            138    On August 18, 2019, Coache was discharged from Parole.
                                             COMPLAINT

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 1
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 2

 3   Coache Was Damaged by Defendants’ Actions
 4          139      Coache lost over thirty-one months of his life before he was finally
 5   exonerated.
 6          140      Coache endured hardships, was deprived of his liberty, and opportunities to
 7   live a fulsome, free life.
 8          141      Coache lost the opportunity to spend time with his family, friends, and
 9   other loved ones.
10          142      Coache suffered tremendous damage, including physical injury and
11   emotional distress, as a result of his wrongful arrest, prosecution, detention, and
12   conviction. These harms continue to this day.
13

14                     COUNT I: 42 U.S.C. § 1983 – VIOLATION OF THE
15                       FOURTEENTH AMENDMENT DUE PROCESS
16          143      Coache incorporates paragraphs 1 through 145 above, as though full set
17   forth herein.
18          144      As more fully described above, the Defendants, acting as police
19   investigators and prosecutors, individually, jointly and in conspiracy with each other,
20   deprived Coache of his constitutional right to due process and a fair trial.
21          145      Detectives Chio and Haynes deliberately gave false and misleading
22   testimony to the jury with the intent to persuade the jury that Coache received a bribe to
23   approve Lonetti’s water right application.
24          146      Detectives Chio and Haynes deliberately gave false and misleading
25   testimony to the jury with the intent to persuade the jury that Coache committed
26   extortion.

27          147      Detectives Chio and Haynes deliberately gave false and misleading

28   testimony to the jury with the intent to persuade the jury that Coache received $600,000
     as a result of bribery and extortion then laundered that money.
                                               COMPLAINT

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               148   Defendant Special Assistant District Attorney DiGiacomo prosecuted a
 2   criminal case against Coache, knowing that Coache had committed no crimes. Defendant
 3   DiGiacomo did so by presenting false and misleading facts to the jury. Defendant
 4   DiGiacomo fabricated and solicited false evidence, including witness statements and
 5   testimony he knew to be false. Defendant DiGiacomo without any legal authority
 6   substantially altered multiple Jury Instructions to maliciously, purposely, and deliberately
 7   deceived the court and mislead the jury.
 8             149   Defendants’ actions subjected Coache to governmental action that shocks
 9   the conscience in that Defendants deliberately and intentionally framed Coache for a
10   crime of which he is totally innocent.
11             150   Defendants’ misconduct contravened fundamental canons of decency and
12   fairness and violated Coache’s rights under the Fourteenth Amendment.
13             151   Defendants’ misconduct directly resulted in the unjust, unconstitutional,
14   and wrongful criminal conviction of Coache, thereby denying him his constitutional right
15   to due process and a fair trial guaranteed by the Fourteenth Amendment. Absent this
16   misconduct, the prosecution of Coache could not and would not have been pursued, and
17   he would not have been convicted.
18             152   The misconduct described in this Count was objectively unreasonable and
19   was undertaken intentionally, with reckless and deliberate indifference to the rights of
20   others.
21             153   The Defendants were acting under color of law and within the scope of
22   their employment when they took these actions.
23             154   As a result of the Defendants Chio and Haynes’ misconduct described in
24   this Count, Coache suffered loss of liberty, loss of income, great mental anguish,
25   humiliation, degradation, physical and emotional pain and suffering, and other grievous
26   and continuing injuries and damages as set forth above.

27             155   Upon information and belief, the Defendants’ misconduct described in this

28   Count was undertaken pursuant to the policies, practices, and customs of the LVMPD
     and Clark County, in the manner more fully described herein.
                                              COMPLAINT

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 3        COUNT II: 42 U.S.C. § 1983 – VIOLATION OF THE FOURTH AMENDMENT
 4                         DETENTION WITHOUT PROBABLE CAUSE
 5                               AND DEPRIVATION OF LIBERTY
 6             156    Coache incorporates paragraphs 1 through 158 above, as though full set
 7   forth herein.
 8             157    Defendants, individually, jointly, and in conspiracy with each other,
 9   accused Coache of criminal activity and exerted influence to initiate, continue, and
10   perpetuate judicial proceedings against Coache without any probable cause for doing so
11   and in spite of the fact that they knew Coache was innocent.
12             158    In so doing, the Defendants caused Coache to be unreasonably seized
13   without probable cause and deprived of liberty, in violation of Coache’s rights secured by
14   the Fourth Amendment.
15             159    The misconduct described in this Count was objectively unreasonable and
16   was undertaken intentionally, with reckless and deliberate indifference to the rights of
17   others.
18             160    The Defendants were acting under color of law and within the scope of
19   their employment when they took these actions.
20             161    As a result of Defendants’ misconduct described in this Count, Coache
21   suffered loss of liberty, great mental anguish, humiliation, degradation, physical and
22   emotional pain and suffering, and other grievous and continuing injuries and damages as
23   set forth above.
24             162    Upon information and belief, the Defendants’ misconduct described in this
25   Count was undertaken pursuant to the policies, practices, and customs of the LVMPD
26   and Clark County, in the manner more fully described herein.

27

28                   COUNT III: 42 U.S.C. § 1983 – FAILURE TO INTERVENE


                                                COMPLAINT

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               163    Coache incorporates paragraphs 1 through 165 above, as though full set
 2   forth herein.
 3             164    In the manner described more fully above, during the constitutional
 4   violations described herein, Defendants each stood by without intervening to prevent the
 5   violation of Coache’s constitutional rights, even though they had the opportunity to do so.
 6             165    The misconduct described in this Count was objectively unreasonable and
 7   was undertaken intentionally, with reckless and deliberate indifference to the rights of
 8   others.
 9             166    The Defendants were acting under color of law and within the scope of
10   their employment when they took these actions.
11             167    As a result of Defendants’ misconduct described in this Count, Coache
12   suffered loss of liberty, great mental anguish, humiliation, degradation, physical and
13   emotional pain and suffering, and other grievous and continuing injuries and damages as
14   set forth above.
15

16                                   COUNT IV: 42 U.S.C. § 1983
17                   CONSPIRACY TO DEPRIVE CONSTITUTIONAL RIGHTS
18             168    Coache incorporates paragraphs 1 through 170 above, as though full set
19   forth herein.
20             169    Prior to Coache’s conviction, Defendants, acting in concert with other co-
21   conspirators, known and unknown, reached an agreement among themselves to frame
22   Coache for a crime he did not commit and thereby to deprive him of his constitutional
23   rights, all as described in this Complaint.
24             170    Defendants agreed to investigate and to exert influence to cause the
25   prosecution of Coache for a crime he did not commit and took overt actions in
26   conformity with that agreement.

27             171    As further described above, the Defendants agreed to fail to disclose

28   exculpatory evidence and then, to further conceal their acts, fabricate evidence against


                                                COMPLAINT

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     Coache in a number of ways, including giving false testimony and presenting false
 2   evidence.
 3             172   In so doing, the Defendants agreed to accomplish an unlawful purpose by
 4   unlawful means. In addition, these co-conspirators agreed among themselves to protect
 5   one another from liability by depriving Coache of these rights.
 6             173   In furtherance of their conspiracy, the Defendants committed overt acts and
 7   were otherwise willful participants in joint activity.
 8             174   The misconduct described in this Count was objectively unreasonable and
 9   was undertaken intentionally, with reckless and deliberate indifference to the rights of
10   others.
11             175   As a result of the Defendants misconduct described in this Count, Coache
12   suffered loss of liberty, loss of income, great mental anguish, humiliation, degradation,
13   physical and emotional pain and suffering, and other grievous and continuing injuries and
14   damages as set forth above.
15

16                                            COUNT VI
17                      42 U.S.C. § 1983 – POLICY & CUSTOM CLAIMS
18                                         Against LVMPD
19             176   Coache incorporates paragraphs 1 through 178 above, as though full set
20   forth herein.
21             177   Coache’s injuries described in this complaint and the violations of his
22   Constitutional rights discussed above were caused by the policies and customs of the Las
23   Vegas Metropolitan Police Department, as well as by the actions of policy-making
24   officials for the Las Vegas Metropolitan Police Department.
25             178   At all times relevant to the events described in this complaint and for a
26   period of time before and after, the Las Vegas Metropolitan Police Department failed to

27   promulgate proper or adequate rules, regulations, policies, and procedures governing the

28   conduct of investigations, the collection of evidence, material exculpatory evidence and
     impeachment evidence, and information bearing upon the credibility of both lay and law-
                                               COMPLAINT

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     enforcement witnesses; writing of police reports and taking of investigative notes;
 2   obtaining statements and testimony from witnesses; the conduct of eyewitness
 3   identification procedures; the maintenance of investigative files and disclosure of those
 4   files in criminal proceedings.
 5          179    In addition or alternatively, the Las Vegas Metropolitan Police Department
 6   failed to promulgate proper and adequate rules, regulations, policies, procedural
 7   safeguards, and procedures for the training and supervision of officers and agents of the
 8   Department, with respect to investigations, the production and disclosure of evidence,
 9   including physical evidence, material exculpatory evidence and impeachment evidence,
10   and information bearing upon the credibility of both lay and law-enforcement witnesses
11   and evidence; the writing of police reports and taking of investigative notes; obtaining
12   statements and testimony from witnesses; and the maintenance of investigative files and
13   disclosure of the files in criminal proceedings.
14          180    Officers and agents of the Las Vegas Metropolitan Police Department
15   committed these failures to promulgate proper or adequate rules, regulations, policies,
16   and procedures.
17          181    Had officers and agents of the Las Vegas Metropolitan Police Department
18   promulgated appropriate policies, then the violation of Coache’s constitutional rights
19   would have been prevented.
20          182    These practices and customs, individually and/or together, were allowed to
21   flourish because the leaders, supervisors, and policymakers of the Las Vegas
22   Metropolitan Police Department directly encouraged and were thereby the moving force
23   behind the very type of misconduct at issue by failing to adequately train, supervise, and
24   control their officers, agents, and employees in the areas identified above and by failing
25   to adequately punish and discipline prior instances of similar misconduct, thus directly
26   encouraging future abuses like those affecting Coache.

27          183    The above practices and customs, so well settled as to constitute de facto

28   policies of the Las Vegas Metropolitan Police Department, were able to exist and thrive,


                                              COMPLAINT

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     individually and/or together, because policymakers with authority over the same
 2   exhibited deliberate indifference to the problem, thereby effectively ratifying it.
 3          184      In addition, the misconduct described in this count was undertaken pursuant
 4   to the Las Vegas Metropolitan Police Department policies and practices in that the
 5   constitutional violations committed against Coache were committed with the knowledge,
 6   approval, or endorsement of persons with final policymaking authority for the
 7   Department or were actually committed by persons with such final policymaking
 8   authority.
 9          185      As a consequence, the final policymakers for the Las Vegas Metropolitan
10   Police Department approved of, adopted, and therefore ratified the actions of the
11   Defendant Officers, including their violations of Coache’s constitutional rights, making
12   the Las Vegas Metropolitan Police Department liable for this misconduct.
13          186      Plaintiff’s injuries and the constitutional violations he suffered were caused
14   by officers, agents, and employees of the Las Vegas Metropolitan Police Department,
15   including but not limited to the Defendant Officers, who acted pursuant to one or more of
16   the policies, practices, and customs set forth above in engaging in the misconduct
17   described in this count.
18

19                          COUNT VI: MALICIOUS PROSECUTION
20          187      Coache incorporates paragraphs 1 through 189 above, as though full set
21   forth herein.
22          188      In the manner described more fully above, Defendants, acting as
23   investigators, individually, jointly, and in conspiracy with each other, and maliciously,
24   instituted or continued the prosecution of Coache without probable cause. As a
25   consequence of the criminal prosecution, Coache was unlawfully seized, deprived of
26   liberty, and wrongfully convicted of a crime of which he is innocent.

27          189      Coache’s criminal prosecution was terminated in his favor in a manner

28   indicative of innocence.
            190      The Defendants were acting under color of law and within the scope of
                                               COMPLAINT

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     their employment when they took these actions.
 2

 3          191      Through the doctrine of respondeat superior, Defendant LVMPD and Clark
 4   County are liable as principals for all torts committed by its employees or agents,
 5   including the misconduct by the Defendants.
 6          192      As a direct and proximate result of the Defendants’ actions, Coache’s rights
 7   were violated and he suffered injuries and damages, including but not limited to loss of
 8   liberty, physical injury, emotional pain and suffering, and other grievous and continuing
 9   injuries and damages as set forth above.
10

11                              COUNT VII: ABUSE OF PROCESS
12          193      Coache incorporates paragraphs 1 through 195 above, as though full set
13   forth herein.
14          194      In the manner more fully described above, Defendants, through the actions
15   described more fully above, procured, and exerted influence to continue a criminal
16   proceeding against Coache, with an ulterior purpose other than resolving a legal dispute
17   or resolving the guilt or innocence of Coache.
18          195      Defendants also committed willful acts in the use of the legal process which
19   were not proper in the regular conduct of Plaintiff’s criminal proceeding.
20          196      The Defendants were acting under color of law and within the scope of
21   their employment when they took these actions.
22          197      Through the doctrine of respondeat superior, Defendants LVMPD and
23   Clark County are liable as principals for all torts committed by its employees or agents,
24   including the misconduct by the Defendants.
25          198      As a direct and proximate result of the Defendants’ actions, Plaintiff’s
26   rights were violated and Coache suffered injuries and damages, including but not limited

27   to loss of liberty, loss of income, physical injury, emotional pain and suffering, and other

28   grievous and continuing injuries and damages as set forth above.


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 3                                          COUNT VIII:
 4                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 5          199      Coache incorporates paragraphs 1 through 145 above, as though full set
 6   forth herein.
 7          200      In the manner described more fully above, Defendants, individually,
 8   jointly, and in conspiracy with each other, engaged in extreme and outrageous conduct
 9   with the intention of, or with reckless disregard for, causing Coache emotional distress,
10   and Coache suffered severe or extreme emotional distress. Defendants’ misconduct was
11   the actual and proximate cause of Coache’s severe or extreme emotional distress.
12          201      The Defendants were acting under color of law and within the scope of
13   their employment when they took these actions.
14          202      Through the doctrine of respondeat superior, Defendants LVMPD and
15   Clark County are liable as a principal for all torts committed by its employees and agents,
16   including the misconduct by Defendants described in this Count.
17          203      As a direct and proximate result of the Defendants’ actions, Coache’s rights
18   were violated and he suffered injuries and damages, including but not limited to loss of
19   liberty, loss of income, physical injury, emotional pain and suffering, and other grievous
20   and continuing injuries and damages as set forth above.
21

22                              COUNT IX: CIVIL CONSPIRACY
23          204      Coache incorporates paragraphs 1 through 206 above, as though full set
24   forth herein.
25          205      In the manner described more fully above, Defendants, acting in concert
26   with other known and unknown co-conspirators conspired and intended by concerted

27   action to accomplish an unlawful objective for the purpose of harming Coache, which

28   resulted in damage to him. Defendants agreed to investigate and cause the prosecution of


                                               COMPLAINT

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     Plaintiff for a crime he did not commit and took overt actions in conformity with that
 2   agreement.
 3          206      In furtherance of the conspiracy, the Defendants committed overt acts and
 4   were otherwise willful participants in joint activity.
 5          207      The Defendants were acting under color of law and within the scope of
 6   their employment when they took these actions.
 7          208      Through the doctrine of respondeat superior, Defendants LVMPD and
 8   Clark County DA are liable as principals for all torts committed by its employees or
 9   agents, including the misconduct by the Defendants described in this Count.
10          209      As a direct and proximate result of the Defendants’ actions, Coache’s rights
11   were violated and he suffered injuries and damages, including but not limited to loss of
12   liberty, loss of income, physical injury, emotional pain and suffering, and other grievous
13   and continuing injuries and damages as set forth above.
14

15                               COUNT X: INDEMNIFICATION
16          210      Coache incorporates paragraphs 1 through 212 above, as though full set
17   forth herein.
18          211      Nevada law provides that LVMPD and Clark County are directed to pay
19   any tort judgment for compensatory damages for which their employees are liable within
20   the scope of their employment activities.
21          212      Defendants were employees of the Defendant LVMPD and Clark County
22   and acted within the scope of their employment at all times relevant in committing the
23   actions and omissions described herein.
24          WHEREFORE, Plaintiff Robert Coache requests that this Court enter a judgment
25   in his favor and against Defendants LAS VEGAS METROPOLITAN POLICE
26   DEPARTMENT, COLIN HAYNES, NATHAN CHIO, CLARK COUNTY, MARC

27   DIGIACOMO and SARAH E. OVERLY, awarding compensatory damages, costs, and

28   attorneys’ fees against each Defendant and punitive damages against the individual


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     Defendants, in the amount of at least FIVE MILLION DOLLARS, as well as any other
 2   relief this Court deems appropriate.
 3

 4                                          JURY DEMAND
 5          Plaintiff Robert Coache requests a trial by jury for all claims for relief.
 6                 DATED this 13th day of July 2021.
 7

 8                 Ralph A. Schwartz P.C
 9

10
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